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                                           #:180



 1 GINO PAOLINO – IN PRO PER
   644 WESTBOURNE DRIVE – NO. 5
 2 LOS ANGELES, CALIFORNIA 90069
   TELEPHONE (310) 849-9073
 3 gpaolino777@gmail.com
 4 Plaintiff in Pro Per
 5
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 6 miw@severson.com
   BENJAMIN J. HOWARD (State Bar No. 320682)
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   SEVERSON & WERSON
 8 A Professional Corporation
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 9 San Francisco, California 94111
   Telephone: (415) 398-3344
10 Facsimile: (415) 956-0439
11 Attorneys for Defendant
   WELLS FARGO BANK, et al.
12
                        UNITED STATES DISTRICT COURT
13
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
14
15
     GINO PAOLINO,                                  Case No. 2:22-cv-01369-PA-JPR
16
                        Plaintiff,                  STIPULATION OF VOLUNTARY
17                                                  DISMISSAL WITH PREJUDICE OF
               vs.                                  THE ENTIRE ACTION PURSUANT
18                                                  TO F.R.C.P. 41(a)(1)(A)(ii)
   WELLS FARGO BANK, A California
19 corporation, JOHN SHREWSBERRY,
   President and Chief Executive Officer-
20 Wells Fargo Bank, JOHN
   SHREWSBERRY, an individual,
21 CHARLES SCHARF, President and
   Chief Executive Officer - Wells Fargo
22 Bank, CHARLES SCHARF, an
   individual, SCOTT POWELL, Chief
23 Operating Officer - Wells Fargo Bank,
   SCOTT POWELL, an individual,
24 MICHAEL SANTOMASSI, Chief
   Financial Officer and Senior Vice
25 President, Wells Fargo Bank,
   MICHAEL SANTOMASSI, an
26 individual, STEVEN BLACK,
   Chairman of Wells Fargo Bank,
27 STEVEN BLACK, an individual,
   MARK CHANCY, Vice-Chairman of
28 Wells Fargo Bank, MARK CHANCY,

     07685.2720/16091002.1
       STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)
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                                     #:181



 1 an individual, MUNEERA CARR,
   Chief Accounting Officer and
 2 Controller - Wells Fargo Bank,
   MUNEERA CARR; an individual,
 3 WILLIAM DALEY, Vice Chairman of
   Public Affairs - Wells Fargo Bank,
 4 WILLIAM DALEY, an individual,
   DEREK FLOWERS, Senior Executive
 5 Vice President - Wells Fargo Bank,
   DEREK FLOWERS, an individual,
 6 KYLE HRANICKY, Senior Executive
   Vice President - Wells Fargo Bank,
 7 KYLE HRANICKY, an individual,
   MARY MACK, Senior Executive Vice
 8 President - Wells Fargo Bank, MARY
   MACK, an individual, AMANDA
 9 NORTON, Senior Executive Vice
   President - Wells Fargo Bank,
10 AMANDA NORTON, an individual,
   LESTER OWENS, Senior Executive
11 Vice President - Wells Fargo Bank,
   LESTER OWENS, an individual,
12 JULIE SCAMMAHORN, Senior
   Executive Vice President - Wells Fargo
13 Bank, JULIE SCAMMAHORN, an
   individual, BARRY SOMMERS,
14 Senior Executive Vice President - Wells
   Fargo Bank, BARRY SOMMERS, an
15 individual, MICHAEL WEINBACH,
   Senior Executive Vice President - Wells
16 Fargo Bank, MICHAEL WEINBACH,
   an individual, JONATHAN WEISS,
17 Senior Executive Vice President - Wells
   Fargo Bank JONATHAN WEISS, an
18 individual, MELISSA RIVERA,
   Manager - West Hollywood Branch -
19 Wells Fargo Bank MELISSA RIVERA,
   an individual, JALICIA
20 FITZPATRICK, Manager - Arlington
   Branch - Wells Fargo Bank, JALICIA
21 FITZPATRICK, an individual,
   MICHAEL KIEL, Manager - Reno
22 Branch - Wells Fargo Bank MICHAEL
   KIEL, an individual, ANNA SEGURA,
23 Branch Manager - Buck Branch - Wells
   Fargo Bank ANNA SEGURA, an
24 individual, EVITHA LIM – Branch
   Manager - Galena Branch - Wells Fargo
25 Bank EVITHA LIM, an individual,
   PAYCEN M. - Executive Office Case
26 Specialist Enterprise Complaints
   Management - Wells Fargo Bank
27 PAYCEN M., an individual LAURA E.
   - Executive Office Case Specialist
28 Enterprise Complaints Management -

    07685.2720/16091002.1                       2
      STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)
Case 2:22-cv-01369-PA-JPR        Document 14 Filed 03/24/22       Page 3 of 4 Page ID
                                       #:182


 1 Wells Fargo Bank LAURA E. an
   individual SILVER INK LITERARY
 2 AGENCY, A Nevada Corporation,
   TOM MACKAY, an individual, And
 3 DOES 1 through 100, inclusive,
 4                 Defendants.
 5
 6          IT IS HEREBY STIPULATED AND AGREED by and between plaintiff
 7 Gino Paolino ("Plaintiff') and defendants Wells Fargo Bank, John Shrewsberry,
 8 Charles Scharf, Scott Powell, Michael Santomassi, Steven Black, Mark Chancy,
 9 Muneera Can., William Daley, Derek Flowers, Kyle Hranicky, Mary Mack, Amanda
10 Norton, Lester Owens, Julie Scammahom, Barry Sommers, Michael Weinbach,
11 Jonathan Weiss, Melissa Rivera, Jalicia Fitzpatrick, Michael Kiel, Anna Segura,
12 Evitha Lim, "Paycen M.," and "Laura E." that the entire action be voluntarily
13 dismissed, with prejudice, pursuant to the Federal Rules of Civil Procedure
14 41(a)(1)(A)(ii). Each party to bear its own attorney's fees and costs.
15
16 DATED: March              2022          GINO PAOLINO
17
18                                         By:
19                                                          GINO PAOLINO

20                                         Plaintiff in pro per
21
     DATED: March 24 , 2022                SEVERSON & WERSON
22
                                           A Professional Corporation
23
24                                         By:
25                                                     BENJAMIN J. HOWARD
26
                                           Attorneys for Defendant WELLS FARGO
27                                         BANK, et al.
28

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        STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE PURSUANT TO F.R.C.P. 41(a)(I)(A)(ii)
Case 2:22-cv-01369-PA-JPR       Document 14 Filed 03/24/22      Page 4 of 4 Page ID
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 1                                   PROOF OF SERVICE
 2                        Gino Paolino v. Wells Fargo Bank et al.;
               USDC, Central Dist. Court of CA Case No. 2:22-cv-01369-PA-JPR
 3
 4       At the time of service, I was over 18 years of age and not a party to this
   action. I am employed in the County of San Francisco, State of California. My
 5 business address is One Embarcadero Center, Suite 2600, San Francisco, CA 94111.
 6            On March 24, 2022, I served true copies of the following document(s):
 7            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
              OF THE ENTIRE ACTION PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)
 8
 9
     on the interested parties in this action as follows:
10
     Gino Paolino
11   644 Westbourne Drive, No. 5
     Los Angeles, CA 90069
12
     Telephone: (310) 849-9073
13   Email: gpaolino777@gmail.com
14   Plaintiff in Pro Per

15        BY E-MAIL: I caused a copy of the document(s) to be sent from e-mail
   address smq@severson.com to the persons at the e-mail addresses listed in the
16 Service List. The document(s) were transmitted, and I did not receive, within a
   reasonable time after the transmission, any electronic message or other indication
17 that the transmission was unsuccessful.
18       I declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct and that I am employed in the office
19 of a member of the bar of this Court at whose direction the service was made.
20            Executed on March 24, 2022, at San Francisco, California.
21
22
                                                  Suzanne M. Querubin
23
24
25
26
27
28

     07685.2720/16091002.1                       4
                                         PROOF OF SERVICE
